          Case 1:15-cv-00495-RDB Document 20 Filed 07/08/15 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MARYLAND
                             GREENBELT DIVISION

JUSTIN MILLS,                               :
                                            :
       Plaintiff                            :
                                            :
vs.                                         :               CASE NO: 8:15-cv-495
                                            :
ANNE ARUNDEL COUNTY                         :
MARYLAND, et al.,                           :
                                            :
       Defendants.                          :

                                  ENTRY OF APPEARANCE

       TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       Enter my appearance as Co-Counsel for the Plaintiff, Justin Mills. I certify that I am

admitted to practice in this court.

                                            Respectfully submitted,


                                            ________/S/____________________________
                                            Jonathan R. Carroll, 17711
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                                            Wheaton, Maryland 20902
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                                            JonathanCarroll@JKMFirm.com
                                            Counsel for Plaintiff
         Case 1:15-cv-00495-RDB Document 20 Filed 07/08/15 Page 2 of 2



                                CERTIFICATE OF SERVICE

      I HEREBY Certify that on this 8th day of July, 2015 I caused the following Entry of
Appearance to be served via this Court’s electronic filing system upon:

       Jay H Creech
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       Counsel for Defendant The Cordish Companies and PPE Casino Resorts Maryland, LLC

and via first class mail, postage prepaid upon the following:

       Christopher Coulter
       (Individually and as Agent of co-defendant, The Cordish Companies, Inc.
       7002 Arundel Mills Circle Suite 7777
       Hanover, MD 21076

               and

       Giorgio Isella
       (Individually and as Agent of co-Defendant,
       The Cordish Companies, Inc.);
       601 East Pratt Street
       Suite 600
       Baltimore, Maryland 21202

                                             _________/S/_______________________
                                             Jonathan R. Carroll, 17711
